     Case 2:21-cr-00203-ODW Document 78 Filed 11/05/21 Page 1 of 2 Page ID #:408




 1     Daniel A. Nardoni (Bar No. 94201)
       E-Mail: dan@nardonilaw.net
 2     215 N. Marengo Avenue
       Suite 328
 3     Pasadena, California 91101
       Telephone: (626) 578-9872
 4     Facsimile: (626) 578-9873

 5     Attorney for Defendant
       BOLATITO TAWAKALITU AGBABIAKA
 6
 7
 8
                                     UNITED STATES DISTRICT COURT
 9
                                   CENTRAL DISTRICT OF CALIFORNIA
10
                                              WESTERN DIVISION
11
12
       UNITED STATES OF AMERICA,                              Case No. 21-CR-00203-ODW-5
13
                      Plaintiff,
14
              v.                                              STIPULATION TO TEMPORARILY
15                                                            RELEASE THE DEFENDANT’S
       BOLATITO TAWAKALITU AGBABIAKA,                         PASSPORT FOR HER IMMIGRATION
16                                                            INTERVIEW AND THEN HAVE IT
                      Defendant.                              RETURNED UPON CONCLUSION OF
17                                                            INTERVIEW

18
19
20            IT IS HEREBY STIPULATED AND AGREED by and between Plaintiff, United States of

21     America, by and through its attorney of record, Assistant United States Attorney Khaldoun Shobaki,

22     and defendant Bolatito Tawakalitu Agbabiaka, by and through her attorney of record, Daniel A.

23     Nardoni, that Officer Sandra M. Marin of the U.S. Pretrial Services for the District of New Jersey

24     temporarily release the defendant’s passport to the defendant for the purpose of the defendant’s

25     immigration interview on November 12, 2021. Further, at the conclusion of the defendant’s

26     immigration appointment, the defendant is ordered to promptly return her passport to Officer Sandra

27     M. Marin of the U.S. Pretrial Services for the District of New Jersey.

28     ////
     Case 2:21-cr-00203-ODW Document 78 Filed 11/05/21 Page 2 of 2 Page ID #:409




 1            Defendant Miss Agbabiaka had previously surrendered her passport to pretrial services

 2     following her arrest. Pretrial services currently has possession of the defendant’s passport.

 3     The defendant is here in the United States on a green card. Her stay under her green card has expired

 4     and she needs to get an extension. The defendant has scheduled an appointment with Immigration

 5     Services for November 12, 2021, at 10:00 A.M. She needs to present her passport to the immigration

 6     staff member in order to have her passport stamped with the green card extension.

 7            The defendant seeks to have her passport temporarily released to her prior to the scheduled

 8     meeting, either November 11 or November 12, 2021, for the purpose of this scheduled appointment.

 9            FURTHER, the defendant shall promptly return her passport on November 12, 2021, to

10     Pretrial Services at the conclusion of her immigration appointment.

11
12                                                   Respectfully submitted,

13
                                                     Daniel A. Nardoni
14                                                   Attorney at Law

15
16     DATED: November 4, 2021                   By /s/ Daniel A. Nardoni
                                                   DANIEL A. NARDONI
17                                                 Attorney for BOLATITO TAWAKALITU
                                                   AGBABIAKA
18
19
20                                                   TRACY WILKINSON
                                                     Acting United States Attorney
21
22
       DATED: November 4, 2021                   By /s/ Khaldoun Shobaki (via email authorization)
23
                                                   KHALDOUN SHOBAKI
24                                                 Assistant United States Attorney

25
26
27
28
                                                            2
